                                          Case 5:22-cv-04325-EJD Document 567 Filed 07/17/23 Page 1 of 1




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7

                                   8     FEDERAL TRADE COMMISSION,                            Case No. 5:22-cv-04325-EJD
                                                        Plaintiff,                            ORDER ON INTENT TO UNSEAL
                                   9
                                                 v.
                                  10

                                  11     META PLATFORMS INC., et al.,
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          On January 31, 2023, the Court denied Plaintiff’s motion for preliminary injunction

                                  14   pursuant to Section 13(b) of the Federal Trade Commission Act. The Court initially posted the

                                  15   order under seal and subsequently posted a public version with redactions. ECF Nos. 546, 549.

                                  16   Given that the January 31 Order resolved the only relief sought in the Complaint, “effectively

                                  17   terminat[ing] the litigation and constitute[ing] a final order,” FTC v. Hackensack Meridian Health,

                                  18   Inc., 30 F.4th 160, 165 n.2 (3d Cir. 2022), the Court is prepared to close the matter.

                                  19          Before it does, in light of the public’s interest and right of access to the full reasoning in

                                  20   the Court’s decision, the parties SHALL submit a joint statement within 14 days of this Order,

                                  21   setting forth their positions and supporting bases as to whether the Court’s January 31 Order may

                                  22   be unsealed in its entirety. The parties are also DIRECTED to consult with third parties whose

                                  23   confidential information is implicated by the sealed and redacted portions of the January 31 Order.

                                  24          IT IS SO ORDERED.

                                  25   Dated: July 17, 2023

                                  26
                                                                                                      EDWARD J. DAVILA
                                  27                                                                  United States District Judge
                                  28   Case No.: 5:22-cv-04325-EJD
                                       ORDER ON INTENT TO UNSEAL
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